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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                                                 )    Criminal No. 18-10364-DPW
                v.                               )
                                                 )
JASIEL F. CORREIA, II,                           )
                                                 )
                        Defendant                )

                                 [DRAFT] PROTECTIVE ORDER
         Joint Request having been made by the parties for a protective order restricting disclosure

of discovery materials produced in this case, it is hereby ORDERED that:

         As to any discovery materials produced by the government to the defendant during the

discovery process in this case, defense counsel may question or confront potential witnesses about

matters or information contained in the discovery materials produced by the government, and may

disclose such materials and their contents to the defendant and to those members of defense

counsel’s staff who are necessary to assist counsel in this case. The discovery materials and

information contained therein shall be used solely for the purpose of litigating matters in this case

and shall not be divulged to any other person.

         This Order does not apply to any such materials that are already in the public record.




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HON. DONALD L. CABELL
United States Magistrate Judge


Dated:
